
658 So.2d 1128 (1995)
J.M., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 94-02472.
District Court of Appeal of Florida, Second District.
July 28, 1995.
James Marion Moorman, Public Defender, and Megan Olson, Asst. Public Defender, Bartow, for appellant.
Robert A. Butterworth, Atty. Gen., Tallahassee, and Patricia J. Hakes, Asst. Atty. Gen., Tampa, for appellee.
BLUE, Judge.
J.M. was adjudicated delinquent of several offenses, including a residential burglary. He appeals a portion of the restitution order directing him to pay for a security system installed in the residence subsequent to the burglary. We agree that it was error to order J.M. to pay for the security system.
Section 39.054(1)(f), Florida Statutes (1993), permits the award of restitution for "any damage or loss caused by the child's offense... ." The damage or loss for which *1129 restitution is ordered need not be directly encompassed within the legal elements of an offense, however, there must be a significant relationship between the damage or loss and the offense. See J.S.H. v. State, 472 So.2d 737 (Fla. 1985); Denson v. State, 556 So.2d 823 (Fla. 1st DCA 1990). Here, the circuit court erred by including the cost of the afteracquired security system in the restitution order because the relationship between the system and J.M.'s delinquent acts was not the significant causal relationship contemplated by the statute.
Accordingly, the order of restitution for the security system is vacated.
CAMPBELL, A.C.J., and LAZZARA, J., concur.
